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Farrell & Patel, Attorneys At Law, represents all named Plaintiffs in each of the following
actions:

       1.      City of Baton Rouge, Louisiana v. BP Exploration & Production, Inc., et al,
               LAM, Civil Action Number 13-cv-252-JJB-RLB.

       2.      Humble Lodging, LLC.; OM SRI Ganeshaya Namah LLC, et al v. BP Exploration
               & Production, Inc., et al, TXE, Civil Action Number 1:13-cv-00248

       3.      City of South Padre Island v. BP Exploration & Production, Inc., et al, TXE, Civil
               Action Number 1:13-cv-00249

       4.      Central Financial Holdings, Inc. v. BP Exploration & Production, Inc., et al, FLM
               (Tampa), Civil Action Number 8:13-cv-01071.

       5.      Sunshine Enterprises of Jacksonville, Inc.; Krishna Enterprises of Alachula, Inc.,
               et al v. BP Exploration & Production, Inc., et al, FLM (Tampa), Civil Action
               Number 8:13-cv-01070.
